Case 1:23-cv-00081-HYJ-RSK ECF No. 4, PageID.15 Filed 02/06/23 Page 1 of 2
Case 1:23-cv-00081-HYJ-RSK ECF No. 4, PageID.16 Filed 02/06/23 Page 2 of 2



 AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-CV-00081


                                                 PROOF OF SERVICE
              (This section should not be filed with the court unless required by Fed. R. Clv. P. 4 {I))

         This summons for (name of Individual and title, If any) P&B Capital Group, LLC. C/O CSC-1.awyers
 tncoroorating Service was received by me on (date) 1-30-2023.
      { ]       I personally served the summons on the individual at (place) ______ on (date}
                _______,·or
      [ ]       I left the summons at the individual's residence or usual place of abode with (name)
                ____________ , a person of suitable age and disa-etion who resides there, on
                (date) ______, and maHed a copy to the individuafs last known address; or
       [ X)     I served the summons on (name of individual) Tia Bartley, who is designated by law to accept service
                of process on behalf of (name of organization) P&B Capital Group. LLC. C/O CSC-l.awyers
                Incorporating Service on (dateJ 2/2/2023; or

      [ ]       I returned the subpoena unexecuted because:._____ _ _________�

      [ ]       Other (specify):


 My fees are$.______ for travel and$.______ for services, for a total of$ __"'0..,.00
                                                                                    ...___:...




                                                                                  Soott VanOchten
                                                                                   Process Server

                                                                               Printed name and title

                                                                             Swift Process Servers, UC
                                                                             4337 E. Grand River#101
                                                                              Howell, Ml 48843-7595

                                                                                  Se,yer's address

 Additional information regarding attempted service, etc.:
 DOCUMENTS SERVED:
 Summons In A Civil Action with Complaint
 DESCRIPTION OF PERSON SERVED:
 Age: 35 Sex: F, Race/Skin Cotor; White, Height: 5'4", Weight: 160, Hair: Blonde, Glasses: N




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